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       In the United States Court of Federal Claims
                                           No. 07-742C

                                      (Filed: April 8, 2011)
                                            _________

 PARKWOOD ASSOCIATES LIMITED                    *   Government contract case; Cross-motions
 PARTNERSHIP, a Washington Limited              *   for summary judgment; Federal Housing Act
 Partnership,                                   *   – prepayment of housing loans; 28 U.S.C. §
                                                *   1491 – Tucker Act; 28 U.S.C. § 2501 – six-
                                                *   year statute of limitations; ELIHPA;
                        Plaintiff,                  Contract breach claim; Accrual; Franconia;
                                                *
                                                    Repudiation; Request for prepayment;
        v.                                      *
                                                    Breach when performance due; Tamerlane;
                                                *   Subjective intent; Continuing claims
 THE UNITED STATES,                             *   doctrine; Multiple requests for single
                                                *   performance; Contract claim untimely;
                        Defendant.              *   Takings claim; Accrual; Takings claim
                                                *   untimely.
                                                *
                                            _________

                                            OPINION
                                           __________

       Charles C. Gill, Moffatt, Thomas, Barrett, Rock & Fields, Chtd., Boise, ID, for plaintiff.

       Shalom Brilliant, Civil Division, United States Department of Justice, Washington, D.C.,
with whom was Assistant Attorney General Tony West, for defendant.

ALLEGRA, Judge:

        This action, which is before the court on defendant’s motion for summary judgment and
plaintiff’s cross-motion for partial summary judgment, has its genesis in a loan agreement
between Parkwood Associates Limited Partnership (plaintiff) and the Farmers Home
Administration (FmHA) to establish low income rural housing projects pursuant to section 515
of the Federal Housing Act. This agreement permitted prepayment of the mortgage balance at
any time. In 1987, Congress enacted a statute that repudiated this prepayment provision.
Notwithstanding, in 1992, plaintiff twice requested that it be allowed to prepay its loan. The
FmHA essentially did not respond to these requests and plaintiff allowed the matter to drop. In
2003, plaintiff again sought to prepay its loan. This time the FmHA eventually permitted it to do
so, but only after plaintiff agreed to limit its future rent charges under a new extended agreement.
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In 2007, plaintiff sued, claiming that the conditions imposed upon its prepayment breached its
original loan agreement or, alternatively, effectuated a takings.

        Defendant argues that this complaint is untimely, asserting that, under the statute of
limitations provisions of 28 U.S.C. § 2501, plaintiff’s claims accrued in 1992, the year plaintiff
first made its prepayment requests. Not so, plaintiff responds in its cross-motion, asserting that
not only is its complaint timely, but that it is entitled to a finding, as a matter of law, that
defendant is liable. As will be seen, binding precedent dictates a ruling in defendant’s favor.

I.     BACKGROUND

       While this case has a long history, only a few facts are needed to provide the necessary
context for this motion.

        On March 22, 1978, plaintiff entered into a loan contract with the FmHA, pursuant to
sections 515 and 521 of the National Housing Act of 1949, as amended, 42 U.S.C. § 1485 (the
515 Program), to build the Parkwood Apartments (Parkwood) in Burlington, Washington.
Under the 515 Program, the FmHA made loans to private entities to develop or construct rural
housing for elderly and low-income tenants. 1 To receive a loan under the 515 Program, a
borrower was required, inter alia, to execute a loan agreement, a promissory note, and a
mortgage or deed of trust. FmHA loaned plaintiff $567,900 at an interest rate of 8.25 percent, to
be paid over a period of fifty years. The promissory note executed by plaintiff contained the
following provision: “Prepayments of scheduled installments, or any portion thereof, may be
made at any time at the option of Borrower.” Under the relevant FmHA regulations, to exercise
this prepayment option, the borrower was obliged to submit a comprehensive set of documents at
least 180 days in advance of the anticipated prepayment date. See 7 C.F.R. § 1965.90(a)(2)(i)
(1988).

        Over time, the number of 515 Program borrowers prepaying their mortgages outpaced the
number of new entrants into the program, causing the supply of low-income rural housing to
dwindle. In 1988, Congress enacted the Emergency Low Income Housing Preservation Act
(ELIPHA), Pub. L. No. 100-242, 101 Stat. 1877 (codified at 42 U.S.C. § 1472), which restricted
the prepayment of section 515 mortgages that were entered before December 21, 1979. “Before
accepting any offer to prepay” such mortgages, FmHA was required to “make reasonable efforts
to enter into an agreement with the borrower under which the borrower will make a binding
commitment to extend the low income use of the assisted housing.” 42 U.S.C. § 1472(c)(4)(A).
FmHA was authorized to offer various incentives such as additional rental assistance, an increase
in returns to the owner, and equity loans. 42 U.S.C. § 1472(c)(4)(B); see also Franconia, 61
Fed. Cl. at 723.



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           For a more extensive description of the 515 Program, see Franconia Assocs. v. United
States, 61 Fed. Cl. 718, 722-24 (2004).

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        On August 3, 1992, plaintiff sent defendant a group of documents together with a letter
entitled “PREPAYMENT PACKAGE.” The letter stated that the submission “represents
[plaintiff’s] formal request to prepay Parkwood Associates, RRH #515 Plan II RA loan on
February 3, 1993,” and contained “a completed prepayment request . . . for [FmHA’s] review
and approval.” This prepayment package appears to have included all the documentation
required by the relevant regulations. In an August 27, 1992, letter, defendant explained that the
processing of plaintiff’s package had been delayed due to the potential unavailability of the
project files and reassured plaintiff that defendant “will respond to your . . . loan prepayment
applications.” On September 2, 1992, plaintiff resubmitted “the pre-payment package for
Parkwood Associates.” Defendant did not respond to these submissions. Yet, Parkwood
continued to operate under the 515 Program.

        On May 29, 2003, plaintiff again applied to prepay its 515 Program loan, and on July 29,
2003, defendant notified plaintiff that it had processed the application. Pursuant to ELIPHA, on
July 31, 2003, defendant sent plaintiff a letter asking whether it was amenable to receiving
incentives in lieu of prepayment. After plaintiff responded positively to this letter, defendant, on
November 25, 2003, offered plaintiff an equity loan and additional rental assistance if plaintiff
would agree to a “restrictive use agreement” that would “obligate [plaintiff] . . . to restrict[ ] the
use of the project to very-low, low, and moderate income tenants for a period of 20 years from
the date the incentives are closed.” On December 18, 2003, plaintiff agreed to “continue the pre-
pay and accept [FmHA’s] incentives.”

        A year and a half passed. Defendant then notified plaintiff that it lacked the appropriated
funds to provide the promised loan and additional rental assistance. On August 4, 2005, plaintiff
withdrew its acceptance of these incentives and renewed its demand to prepay its loan. In an
October 18, 2005, letter, defendant advised that because plaintiff had rejected the incentive
agreement, if “prepayment will not have an adverse effect on housing opportunities . . . but there
is not an adequate supply . . . of rental housing . . . , the loan may be prepaid only if the borrower
agrees to sign restrictive-use provisions, as determined by the Agency, to protect tenants at the
time of prepayment.” Defendant subsequently determined that “the availability of units is
severely limited” and that “[h]ousing to minorities would be materially affected” by prepayment.
On August 10, 2006, plaintiff signed “The Last Existing Tenant Restrictive-Use Provision and
Agreement” (restrictive use agreement) as a condition to prepayment. The restrictive use
agreement required plaintiff to permit tenants to continue paying rent at the existing rate and
offer lease renewals at a basic rent amount approved by defendant.

       On December 11, 2006, plaintiff paid the $277,164.64 balance on its 515 Program
promissory note in full. On January 25, 2007, defendant executed a “Conditional Deed of
Reconveyance” “subject to the restrictive use agreement,” and, on February 2, 2007, defendant
terminated its rent subsidy contract with plaintiff.

       On October 24, 2007, plaintiff filed its complaint in this court asserting a breach of
contract claim based on defendant’s failure to allow prepayment and its insistence that plaintiff
continue to operate Parkwood under the 515 Program restrictions without rent subsidies.

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Plaintiff also alleged a takings claim, contending that the 515 Program restrictions and
terminated subsidies forced it to lease units at drastically-reduced, below-market rates. On
September 12, 2008, defendant filed a motion for summary judgment alleging that plaintiff’s
claims are time-barred by the six-year statute of limitations and that plaintiff failed to state a
takings claim. On October 14, 2008, plaintiff filed its response and a cross-motion for partial
summary judgment. Following the completion of briefing on these motions, on March 17, 2009,
the court held oral argument. Pursuant to court order, on April 4, 2009, the parties submitted
supplemental briefs. On October 7, 2009, the court stayed the case, pending settlement
discussions. When those discussions proved unfruitful, on August 8, 2010, the court lifted the
stay. The parties have since filed various authorities supplementing their briefs.

II.    DISCUSSION

        Summary judgment is appropriate when there is no genuine dispute as to any material
fact and the moving party is entitled to judgment as a matter of law. See RCFC 56; Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). Disputes over facts that are not outcome-
determinative will not preclude the entry of summary judgment. Id. at 248. However, summary
judgment will not be granted if “the dispute about a material fact is ‘genuine,’ that is, if the
evidence is such that a reasonable [trier of fact] could return a verdict for the nonmoving party.”
Id.; see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986);
Becho, Inc. v. United States, 47 Fed. Cl. 595, 599 (2000).

        When making a summary judgment determination, the court is not to weigh the evidence,
but to “determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249; see also
Agosto v. Immigration & Naturalization Serv., 436 U.S. 748, 756 (1978) (“a [trial] court
generally cannot grant summary judgment based on its assessment of the credibility of the
evidence presented”); Am. Ins. Co. v. United States, 62 Fed. Cl. 151, 154 (2004). The court must
determine whether the evidence presents a disagreement sufficient to require fact finding, or,
conversely, is so one-sided that one party must prevail as a matter of law. Anderson, 477 U.S. at
250-52; see also Ricci v. DeStefano, 129 S. Ct. 2658, 2677 (2009) (“‘Where the record taken as a
whole could not lead a rational trier of fact to find for the nonmoving party, there is no genuine
issue for trial.’” (quoting Matsushita, 475 U.S. at 587)). Where there is a genuine dispute, all
facts must be construed, and all inferences drawn from the evidence must be viewed, in the light
most favorable to the party opposing the motion. Matsushita, 475 U.S. at 587-88 (citing United
States v. Diebold, Inc., 369 U.S. 654, 655 (1962)); see also Stovall v. United States, 94 Fed. Cl.
336, 344 (2010); L.P. Consulting Grp., Inc. v. United States, 66 Fed. Cl. 238, 240 (2005).

        The Tucker Act, 28 U.S.C. § 1491(a)(1), grants this court jurisdiction to render judgment
on any claim against the United States founded, inter alia, on the Constitution or a contract. See
United States v. Testan, 424 U.S. 392, 397-98 (1976). A claimant must bring a claim under the
this provision “within six years after such claim first accrues.” 28 U.S.C. § 2501; see also
Samish Indian Nation v. United States, 419 F.3d 1355, 1369 (Fed. Cir. 2005). This is a
jurisdictional limit that cannot be waived. John R. Sand & Gravel Co. v. United States, 552 U.S.
130 (2008). It is well-established that a claim accrues under section 2501 “when ‘all events have

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occurred to fix the Government’s alleged liability, entitling the claimant to demand payment and
sue here for his money.’” Martinez v. United States, 333 F.3d 1295, 1303 (Fed. Cir. 2003) (en
banc), cert. denied, 540 U.S. 1177 (2004) (quoting Nager Elec. Co. v. United States, 368 F.2d
847, 851 (Ct. Cl. 1966)); see also Samish, 419 F.3d at 1369. Because, as noted, this requirement
is jurisdictional, plaintiff bears the burden of demonstrating that its claims were timely. See
Alder Terrace, Inc. v. United States, 161 F.3d 1372, 1377 (Fed. Cir. 1998); Entines v. United
States, 39 Fed. Cl. 673, 678 (1997), aff’d, 185 F.3d 881 (Fed. Cir.), cert. denied, 526 U.S. 1117
(1999); see also John R. Sand & Gravel Co. v. United States, 457 F.3d 1345, 1362 (Fed. Cir.
2006) (Newman, J., dissenting); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748
(Fed. Cir. 1988). 2

        Defendant asseverates that plaintiff’s breach of contract claim accrued in 1992, nearly
fifteen years before this suit was filed and thus well outside the six-year limitations period
provided by section 2501. Plaintiff, however, asserts that its current claim did not arise in 1992,
but rather in 2003 or 2005 – the former being the year it made yet another prepayment request
and the latter being the year in which the FmHA eventually granted that request, albeit with
conditions that plaintiff argues breached its original loan agreement. This suit, plaintiff thus
contends, is timely. The parties make similar competing claims as to the timeliness of plaintiff’s
alternative takings claim. The court will consider the timeliness of plaintiff’s contract and
takings claims seriatim.

       A. Breach of Contract

        We start from the premise that the law of contracts between private parties generally
controls the government’s contractual rights and duties. Mobil Oil Exploration & Producing
S.E., Inc. v. United States, 530 U.S. 604, 607 (2000); United States v. Winstar Corp., 518 U.S.
839, 895 (1996) (plurality opinion). Ordinarily, a breach of contract claim accrues “when all the
events have occurred which fix the liability of the Government and entitle the claimant to
institute an action.” Oceanic S.S. Co. v. United States, 165 Ct. Cl. 217, 225 (1964); see also
Petro-Hunt, L.L.C., 90 Fed. Cl. at 67. Pinpointing the date on which contract liability was fixed
here requires consideration of the Supreme Court’s opinion in Franconia Associates v. United
States, 536 U.S. 129 (2001).

       In Franconia, the Supreme Court held that “ELIHPA’s enactment . . . qualified as a
repudiation of the parties’ bargain, not a present breach of the loan agreements.” 536 U.S. at
133. The Court found that ELIHPA “conveyed an announcement by the Government that it

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           See also Kingman Reef Atoll Invs., L.L.C. v. United States, 541 F.3d 1189, 1197 (9th
Cir. 2008) (“Although ordinarily the defendant bears the burden of proving an affirmative statute
of limitations defense, here the statute of limitations is jurisdictional, and, ‘[w]hen subject matter
jurisdiction is challenged under Federal Rule of Procedure 12(b)(1), the plaintiff has the burden
of proving jurisdiction in order to survive the motion.’” (quoting Tosco Corp. v. Cmtys. for a
Better Env’t, 236 F.3d 495, 499 (9th Cir. 2001))); Petro-Hunt, L.L.C. v. United States, 90 Fed.
Cl. 51, 58 (2009).

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would not perform as represented in the promissory notes if and when, at some point in the
future, petitioners attempted to prepay their mortgages.” Id. at 143. Relying upon the
Restatement (Second) of Contracts § 250 and other contract treatises, the Court noted that the
time of accrual varied depending upon “whether the injured party chooses to treat the . . .
repudiation as a present breach.” Id. at 144 (quoting 1 C. Corman, Limitations of Actions § 7.21,
p.488 (1991)). The Court thereby concluded that if a property owner elected to place the United
States, as a repudiator, in breach before the performance date, the accrual date for its cause of
action would be the date of that election; if the property owner opted to await performance, its
cause action would accrue as of the time fixed for performance. Id. 3 Franconia thus provided
plaintiffs with mortgage contracts adversely impacted by ELIHPA’s enactment two bites at the
apple: an injured party could elect to sue immediately by treating the anticipatory repudiation
effectuated by ELIHPA as a breach, or could wait and file suit when performance was due, but
not rendered.

        Plaintiff, however, seeks a third bite at that apple. It claims that its 1992 requests did not
trigger the statute of limitations because they were not really requests to prepay, but rather pro
forma steps to obtain an equity loan – one of the ELIHPA incentives that the FmHA offered to
those property owners requesting prepayment. It further asseverates that the 1992 requests did
not give rise to a breach because plaintiff never pursued the actual prepayment of its loan – it did
not tender payment, but dropped the matter once the agency failed to respond. In plaintiff’s
view, then, these earlier events did not prevent it from pursuing another prepayment request in
2003 – this time, a real one – and from filing this lawsuit once that request was not honored
unconditionally.

        Plaintiff’s arguments strongly resemble those that recently were considered – and
rejected – by the Federal Circuit in Tamerlane, Ltd. v. United States, 550 F.3d 1135 (Fed. Cir.
2008), cert. denied, sub nom., Mullica West, Ltd. v. United States, 129 S. Ct. 2827 (2009), a case
very closely on point. Like the Parkwood owners here, the plaintiffs in Tamerlane owned
housing developments acquired using FmHA loans. 550 F.3d at 1137. And the contracts
evidencing those loans provided the property owners with the right to prepay at any time. Id.

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           In this regard, the Supreme Court elaborated further –
       In sum, once it is understood that ELIHPA is most sensibly characterized as a
       repudiation, the decisions below lose force. . . . If [the injured] party “[e]lects to
       place the repudiator in breach before the performance date, the accrual date of the
       cause of action is accelerated from [the] time of performance to the date of such
       election.” Id. at 488-489. But if the injured party instead opts to await
       performance, “the cause of action accrues, and the statute of limitations
       commences to run, from the time fixed for performance rather than from the
       earlier date of repudiation.” Id. at 488.

536 U.S. at 144; see also Ind. Mich. Power Co. v. United States, 422 F.3d 1369, 1374 (Fed. Cir.
2005) (“For an aggrieved party to recover damages for an anticipatory repudiation, it must elect
to treat the repudiation as a total breach.”); Arakaki v. United States, 62 Fed. Cl. 244, 254 (2004).

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After ELIHPA was passed, the property owners, in 1988 and 1992, sent the FmHA letters
requesting to pay off the balance of their loans. Id. at 1138-39. The FmHA, however, did not
accept the prepayment offers, but instead offered the owners incentive loans authorized by
ELIHPA. Id. at 1139. In 2005, the property owners filed suit in this court seeking damages for
breach of contract on the basis that ELIHPA violated the express terms of their original loan
agreements. Id.

        This court ruled that these claims were barred by the six-year statute of limitations of
section 2501. It held that the claims first accrued in 1991 and 1992, when the FmHA rejected the
owners’ requests to prepay their loans and, instead, offered incentive loans. See Tamerlane, Ltd.
v. United States, 76 Fed. Cl. 512 (2007). In a later decision, this court held that the property
owners could not assert a second breach of the contract based on a later prepayment request.
Tamerlane, Ltd. v. United States, 80 Fed. Cl. 724 (2008). On this count, this court reasoned that
“[a]ny subsequent or continuing denial by the Government of responding to plaintiffs’ rights to
prepay their loans and exit the program pursuant to ELIHPA does not give rise to a new cause of
action, but flows from the Government’s original repudiation and later breach occurring in 1993
and 1991.” Id. at 737. The court found that these later claims – referred to as those arising under
the so-called “extended period” – were also barred by the six-year statute of limitations. Id.; see
also Tamerlane, Ltd. v. United States, 81 Fed. Cl. 511 (2008) (denying a motion to amend the
judgment as to these extended period claims).

        On appeal, the Federal Circuit affirmed. It observed that Franconia teaches that the
“‘time of accrual [of a claim] depends on whether the injured party chooses to treat the
repudiation as a present breach.’” 550 F.3d at 1142 (quoting Franconia, 536 U.S. at 144). It
further noted that the Supreme Court had explained that the statute of limitations begins to run
“‘when a borrower tenders prepayment and the [g]overnment then dishonors its obligation to
accept the tender.’” 550 F.3d at 1142 (quoting Franconia, 536 U.S. at 144). Rejecting the
appellants’ argument that their request to prepay did not constitute “tender” of payment, as
contemplated by the Supreme Court, the Federal Circuit held that a “highly formalized and
technical process” of payment is not needed to trigger a breach. Id. Specifically, it found that
Franconia does not require a “physical transfer of money must be attempted in order to
constitute a tender of payment.” Id. at 1143. By way of further explanation, it added –

       The degree of formalism in communications for which Appellants advocate is
       unnecessary given Congress’ clear repudiation of the unfettered right to prepay in
       ELIPHA. When the government responded to Appellants’ requests to prepay
       with offers of incentive loans, those offers were functionally co-extensive with a
       rejection of prepayment. The Franconia decision requires no more formalism
       than the written request to prepay followed by non-acceptance of the request by
       the government to trigger the running to the statute of limitations.

550 F.3d at 1143. Based on this analysis, the Federal Circuit held that this court had “correctly
ruled that at least by 1991 and 1992, . . . breach-triggering rejections had occurred.” Id.; see



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also City Line Joint Venture v. United States, 82 Fed. Cl. 312, 315 (2008) (adopting a similar
construction of the Franconia case).

         In reaching this conclusion, the Federal Circuit made several additional points that bear
special mention. First, the court flatly disagreed with the notion that the FmHA did not actually
reject the property owners’ offers of prepayment by offering ELIHPA incentive loans in
response to their requests to prepay. Observing that Franconia did not define the “contours of
the tender and rejection” that would trigger the statute of limitations, it instead determined that
the “Franconia decision requires no more formalism than the written request to prepay followed
by non-acceptance of the request by the government to trigger the running to the statute of
limitations.” 550 F.3d at 1143. Because the FmHA’s rejection qualified as a breach of the
original loan agreements, the court concluded that the six-year limitations period was triggered
when the owners’ claims accrued in the early 1990s. Second, the Federal Circuit made short
shrift of the argument that the prepayment letters “were just part of a mechanical process to get
incentives, and were never intended to declare the government in breach of the underlying loan
agreements.” Id. at 1144. It noted that this argument “appears to rely on the subjective intent of
the parties with respect to whether there was a ‘tender’” – a non sequitur because “the
determination of performance or breach of contract” is not based on subjective intent. Id. at
1144 n.15. Finally, the Federal Circuit cast aside the argument that a “second opportunity for
breach of the original agreements” would arise once the twenty-year use restrictions under the
ELIHPA incentive loans expired. Id. at 1146. Rejecting application of the so-called “continuing
claims” doctrine, the court held instead that “there is no second opportunity for breach of the
original agreements” because “there was a single agreement that was breached on a single
occasion.” Id. at 1146. 4

        Tamerlane thus flatly rejects plaintiff’s banner claims here – that the earlier prepayment
requests did not trigger the statute of limitations because they were intended only to facilitate the
receipt of equity loans, and that, at all events, plaintiff could make another request for
prepayment and sue upon the agency’s failure to grant that request unconditionally. As to the


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            On this point, the Federal Circuit added –
       This situation is analogous to that in Ariadne, where we were confronted with a
       plaintiff who sought compensation from the government for repudiation of a
       contract that promised continuing performance into the future. 133 F.3d [874,
       879 (Fed. Cir. 1998), cert. denied, 525 U.S. 823 (1998)]. In finding that a single
       statutory repudiation made clear the government’s intent to reject the terms of the
       contracts, we held that each subsequent denial of the promised contractual
       benefits did not give rise to a separate cause of action, and found that the
       continuing claims doctrine did not permit the plaintiff to obtain a second
       limitations period where the limitations period on the original breach had already
       expired. Id.

550 F.3d at 1146 n.17; see also Tamerlane, Ltd., 80 Fed. Cl. at 737.

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former point, it is well-established that a breach arises when an obligated party fails to render
performance when due. See Restatement (Second) of Contracts § 235(2) (“When performance of
a duty under a contract is due any non-performance is a breach.”); see also Trauma Serv. Grp. v.
United States, 104 F.3d 1321, 1325 (Fed. Cir. 1997). If that performance is subject to a
condition, performance is due once the condition is triggered. See Restatement (Second) §§ 224
cmt. d, 225 (discussing conditions). For this purpose, it matters not why a party triggers that
condition – all that is relevant, for breach analysis, is that, upon the condition occurring,
performance is due. If that obligation arises and performance is not rendered, a breach claim
accrues and the statute of limitations begins to run. See Wharf (Holdings) Ltd. v. United Int’l
Holdings, Inc., 532 U.S. 588, 596-97 (2001) (describing a breach of contract as a “simple failure
to perform”); 1 Richard A. Lord, Williston on Contracts § 4:1 (4th ed. 2007); Restatement
(Second) of Contracts § 235 cmt. b. Consistent with the objective theory of contract
enforcement, the undisclosed subjective intent of the parties thus plays no role in this analysis, as
Tamerline definitively holds. 5

        Nor, as Tamerlane further establishes, can a plaintiff avoid the harsh sting of a statute of
limitations by the simple expediency of making another request for the same performance. The
continuing claims doctrine, in particular, does not allow that. That doctrine, rather, is invoked
properly only where a plaintiff’s claim is “inherently susceptible to being broken down into a
series of independent and distinct events or wrongs, each having its own associated damages.”
Brown Park Estates-Fairfield Dev. Co. v. United States, 127 F.3d 1449, 1456 (Fed. Cir. 1997);
see also Ariadne Fin. Servs. Pty. Ltd. v. United States, 133 F.3d at 879; Petro-Hunt, L.L.C., 90
Fed. Cl. at 64 n.12. The performance at issue, by comparison, cannot be subdivided – under the
FmHA loan contract, the mortgagee can prepay the entire mortgage only once and the
mortgagor, under the loan contract, is obliged to accept that prepayment unconditionally.
FmHA’s failure to do the latter led to a breach in 1993 (when performance was due), and did not
give rise to yet another breach when plaintiff reinitiated the prepayment process in 2003. That
conclusion springs not only from Tamerlane, but from various other cases holding that
subsequent claims are not timely under the continuing claims doctrine where a plaintiff makes




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           See Navair, Inc. v. IFR Ams., Inc., 519 F.3d 1131, 1138-39 (10th Cir. 2008); In re
Johns-Manville Corp., 440 B.R. 604, 614 (Bankr. S.D.N.Y. 2010) (subjective intent irrelevant in
determining whether contract condition triggered); Golkow v. Esquire Deposition Servs., L.L.C.,
2010 WL 2853028, at *3 (E.D. Pa. July 15, 2010) (“Breach of contract actions involve objective
factors, such as terms, duties, performance, and damages, whereas claims for punitive damages
involve evaluation of subjective intent.”); WaveDivision Holding, LLC v. Millennium Digital
Media Sys. L.L.C., 2010 WL 3706624, at *14 (Del. Ch. Sept. 17, 2010) (subjective intent
irrelevant in determining breach); Chamberlin v. Puckett Constr., 921 P.2d 1237, 1241 (Mont.
1996) (“In determining whether an anticipatory breach was committed, courts are [not]
concerned with . . . the promisor’s uncommunicated subjective intent in repudiating its
contractual obligations.”); see also Restatement (Second) of Contracts § 20(2)(b).

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multiple requests for an agency to perform the same, indivisible task under a contract. 6 These
cases illustrate that a contracting party cannot subdivide a single breach claim, so as to treat a
“later” portion as being timely-filed. 7

        Undaunted, plaintiff suggests that Tamerlane is inapposite because there the FmHA
denied the prepayment requests, whereas here plaintiff’s 1992 requests ultimately were met with
silence. But, this is a distinction without a difference.

          There is little doubt that the agency’s failure to grant the 1992 requests constituted a
breach, particularly because plaintiff specified a date for performance, i.e., February 3, 1993.
The latter fact, if nothing else, distinguishes this case from Kasarsky v. Merit Sys. Protection Bd.,
296 F.3d 1331 (Fed. Cir. 2002), which plaintiff claims supports the proposition that a mere
failure to respond to a demand for performance does not constitute a breach. In Kasarsky, the
Federal Circuit held that defendant’s failure to answer a demand for payment under a settlement
agreement did not constitute a breach because a date for performance was not specified and, as
well, there was “no evidence of record to suggest that the agency did not fully intend to comply
with the terms of the agreement.” Id. at 1336. The court clearly signaled that a different result
would obtain in a case such as this, stating that “[w]hen no time for performance is specified and
one party performs, the non-performing party is not in breach of the contract until . . . the
performing party demands performance within a reasonable amount of time, and the other party
still fails to perform within the time specified.” Id. The circumstances described in this passage
– in which performance was demanded – is, of course, exactly what happened here. Plaintiff
indicated that it wanted to prepay by February 3, 1993. The FmHA silence did not excuse or
forestall its breach – it was the breach as it constituted nonperformance in the face of a
contractual duty. See City Line Joint Venture, 82 Fed. Cl. at 315-16 (HUD failure to respond to
prepayment request effectuated a breach); cf. Grass Valley Terrace v. United States, 69 Fed. Cl.

       6
            See, e.g., Brown Park Estates-Fairfield Dev. Co., 127 F.3d at 1457-59 (contractual
claim accrued when Department of Housing and Urban Development (HUD) failed to make the
first rent adjustment and a new claim did not accrue upon the failure to make further
adjustments); Harvest Inst. Freedman Fed’n v. United States, 80 Fed. Cl. 197, 199-200 (2008)
(rejecting application of continuing claims doctrine based on single breach of tribal treaty, noting
that “[t]here must have been multiple events for the doctrine to apply”); see also Carrington
Gardens Assocs. v. United States, 49 Fed. Appx. 427, 430-31 (4th Cir. 2002) (where HUD
determined loan in default, subsequent requests to reconsider default determination did not
initiate new limitations period).
       7
           There is little to distinguish this case from those in which parties have sought to pursue
separate claims for the annual, recurring damages attributable to a single breach. In the latter
instance, the Federal Circuit has repeatedly held that the “continuing claim doctrine does not
apply to a claim based on a single distinct event which has ill effects that continue to accumulate
over time.” Ariadne Fin. Servs. Pty. Ltd., 133 F.3d at 879; see also Brown Park, 127 F.3d at
1457. Logic suggests that this rule ought not be circumvented simply by having the injured party
annually request the same performance previously denied.

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341, 354-55 (2005) (holding that property owner’s breach claim did not accrue when FmHA
letter did not reject or deny prepayment request, but merely required further documentation). 8

        Accordingly, based on the foregoing, the court finds that plaintiff’s contract claim is not
timely under the six-year statute of limitations provided by section 2501. The court turns next to
plaintiff’s takings claim.

       B.      Takings

        The Fifth Amendment provides that private property shall not “be taken for public use
without just compensation.” U.S. Const. Amend. V. A claim alleging a Fifth Amendment
taking “‘accrues when that taking action occurs.’” Goodrich v. United States, 434 F.3d 1329,
1333 (Fed. Cir. 2006) (quoting Alliance of Descendants of Tex. Land Grants v. United States, 37
F.3d 1478, 1481 (Fed. Cir. 1994)). Apart from a condemnation, such a taking generally occurs
when the government deprives an owner of the use and enjoyment of his or her property. See
United States v. Causby, 328 U.S. 256, 261-62 (1946); United States v. Gen. Motors Corp., 323
U.S. 373, 378 (1945); see also Boling v. United States, 220 F.3d 1365, 1371 (Fed. Cir. 2000). A
permanent takings claim arises when: (i) all the events which fix the government’s liability have
occurred; and (ii) the plaintiff knew or should have known of the existence of these events. See
Ingrum v. United States, 560 F.3d 1311, 1314 (Fed. Cir.), cert. denied, 130 S.Ct. 271 (2009);
Alliance of Descendants of Tex. Land Grants, 37 F.3d at 1481; Petro-Hunt, L.L.C., 90 Fed. Cl. at
59.

        Applying these standards, plaintiff’s takings claim arose, at the latest, at the same time as
its contract claim, that is, when the agency failed to honor its 1992 prepayment requests. See

       8
            The court has considered another possibility hinted at by plaintiff in its briefs – that
plaintiff’s failure to sue on the FmHA nonperformance in 1992 waived defendant’s breach and
thereby prevented the statute of limitations from ever being triggered. Surely, under the law,
plaintiff was within its rights not to pursue defendant’s breach and continue to perform its end of
the contract. By doing so, it waived any claims to a material breach that might have given it the
right to cancel the contract. See Barron Bancshares, Inc. v. United States, 366 F.3d 1360, 1383
(Fed. Cir. 2004). But, even so, plaintiff retained a partial breach claim, which, as it accrued,
triggered the six-year statute of limitations. See Cities Serv. Helex, Inc. v. United States, 543
F.2d 1306, 1313 (Ct. Cl. 1976) (discussing this partial breach concept); see also Roehm v. Horst,
178 U.S. 1, 9-10 (1900). Perhaps before the February 3, 1993, due date it previously specified,
plaintiff could have waived the performance owed by the FmHA, preventing the loan contract
from being breached. But, it did not do so, and any waiver thereafter would not discharge
defendant’s duty to compensate plaintiff for a partial breach and prevent the statute of limitations
from being triggered. See Deloro Smelting & Ref. Co. v. United States, 317 F.2d 382, 385 (Ct.
Cl. 1963); 8 Catherine M.A. McCauliff, Corbin on Contracts § 40.16 (2007) (“When a party has
failed . . . to render . . . performance on time, that party has committed a breach of contract. The
other party’s waiver of the condition of prompt performance does not discharge the right to
damages for the first breach, . . .”).

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Henry Housing Ltd. P’ship. v. United States, 95 Fed. Cl. 250, 256-57 (2010) (holding, in an
analogous setting, that the takings claim accrued as “of FmHA’s refusal to allow Henry Housing
to prepay its loan”); Tamerlane, 80 Fed. Cl. at 738 (same); Royal Manor, Ltd. v. United States,
69 Fed. Cl. 58, 63 (2005) (same). This leaves plaintiff with the same statute of limitations
problem it encountered with its contract claim. Hence, at the latest, plaintiff’s takings claim
accrued in 1993 and thus more than six years prior to the 2007 filing of this lawsuit.
Accordingly, plaintiff’s takings claim must also be dismissed as time-barred under section 2501.

III.   CONCLUSION

         It is safe to say that some things in life ought not be feigned. “Do not feign affection,” a
famous poem admonishes. 9 Nor should an official invoke “feigned necessities,” characterized
by Cromwell as “the greatest cozenage that men can put upon the Providence of God, and make
pretence to break known rules by.” 10 And when it comes to contracts, one probably should add
to this list – not feigning a demand for performance. Doing so when performance is not truly
desired, and when there is no genuine intent to pursue damages upon nonfeasance, is a pretense
that, over time, can serve to render important rights unenforceable – as this case, unfortunately
for plaintiff, so well illustrates.

         For the foregoing reasons, the court holds that plaintiff’s claims are time-barred. As a
result, the court GRANTS defendant’s motion for summary judgment and DENIES plaintiff’s
cross-motion for partial summary judgment. The Clerk is hereby ordered to dismiss plaintiff’s
complaint. No costs.

       IT IS SO ORDERED.

                                                         s/ Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge




       9
            Max Ehrmann, Desiderata (1927).
       10
            Oliver Cromwell, Speech to Parliament, September 12, 1654.

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